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 9
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 15-CR-00118MCE
                      Plaintiff,       )
12                                     ) STIPULATION AND
           v.                          ) ORDER TO CONTINUE
13
                                       ) STATUS CONFERENCE
14   MICHAEL DESHONE MATHEWS,          )
     EARSHELL HAYES,                   )
15
     LEON CURRIE FIELDS, JR., and      ) Date: 12-10-2015
16   DAVID WILIAM DIXON,               ) Time: 9:00 a.m.
                      Defendants.      )
17
     __________________________________) Judge: Hon. Morrison C. England
18
                   Plaintiff United States of America, by and through its counsel of record,
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20
     and defendants MICHAEL MATHEWS, EARSHELL HAYES, LEON FIELDS, and

21   DAVID DIXON, by and through their counsel of record, hereby stipulate as follows:
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           1.      By previous order, this matter was set for status November 5, 2015.
23
           2.      By this stipulation, defendant now moves to continue the status
24

25   conference until December 10, 2015, and to exclude time between November 5, 2015
26
     and December 10, 2015, under Local Code T4. Plaintiff does not oppose this request.
27
           3.      The parties agree and stipulate, and request that the Court find the
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 1   following:
 2
            a.      The government has provided initial discovery of over 300 pages. Further
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     discovery is expected to be produced shortly.
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 5          b.      Counsel for defendants desire additional time to complete the review of
 6
     discovery, to conduct defense investigation, and to discuss potential resolution with
 7
     their clients. In particular, counsel for Earshell Hayes was recently retained and needs
 8

 9   an opportunity to review the discovery and discuss the material with her client.
10
     Counsels have also been continuing to engage in negotiations with the government.
11
            c.      Counsel for defendants believes that failure to grant the above-requested
12

13   continuance would deny them the reasonable time necessary for effective preparation,

14   taking into account the exercise of due diligence.
15
            d.      The government does not object to the continuance.
16
            e.      Based on the above-stated findings, the ends of justice served by
17

18   continuing the case as requested outweigh the interest of the public and the defendant in
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     a trial within the original date prescribed by the Speedy Trial Act.
20
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
21

22   § 3161, et seq., within which trial must commence, the time period of November 5,

23   2015 to December 10, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
24
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
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26
     the Court at defendant’s request on the basis of the Court's finding that the ends of

27   justice served by taking such action outweigh the best interest of the public and the
28
     defendant in a speedy trial.


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 1         4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 3
     from the period within which a trial must commence.
 4

 5   IT IS SO STIPULATED.
 6
     Dated: November 3, 2015                         Respectfully submitted,
 7
                                                     /s/ Patrick Hanly
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                                                     PATRICK HANLY
 9                                                   Attorney for Michael Mathews

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11
                                                     /s/ Kelly Babineau
                                                     KELLY BABINEAU
12                                                   Attorney for Earshell Hayes
13
                                                     /s/ Philip Cozens
14                                                   PHILIP COZENS
                                                     Attorney for Leon Fields
15

16                                                   /s/ Gregory Foster
                                                     GREGORY FOSTER
17
                                                     Attorney for David Dixon
18

19   Dated: November 3, 2015                         /s/ Paul Hemesath
20                                                   PAUL HEMESATH
                                                     Assistant U.S. Attorney
21

22         IT IS SO ORDERED.
23
     DATED: November 10, 2015
24

25
                                     _____________________________________________
26                                   MORRISON  N C. ENGLLAND, JR, C
                                                                  CHIEF JUDG  GE
                                     UNITED ST TATES DISSTRICT COU  URT
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